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3                               UNITED STATES DISTRICT COURT

4                         FOR THE EASTERN DISTRICT OF CALIFORNIA

5
     UNITED STATES OF AMERICA,                        1:11-CR-0026-LJO
6
                           Plaintiff,                 MEMORANDUM DECISION AND
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                                                      ORDER RE DEFENDANT’S MOTION
                     v.                               FOR NEW TRIAL OR,
8
                                                      ALTERNATIVELY, MOTION FOR
     JULIE DIANNE FARMER,                             BRADY MATERIAL FOR USE AT
9
                                                      SENTENCING (Doc. 504)
                           Defendant.
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12
            The Court has received and reviewed the Defendant's alternative motions, as well
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     as the Government's opposition papers and Exhibits. The Court considers the matter
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15 under submission and now rules.

16          Since this is not the first motion for new trial brought by the Defendant, rather than
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     repeat much of what has already been provided by this Court, the following is hereby
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     incorporated by reference: The Memorandum Decision (Doc. 496) filed on July 11, 2014,
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     specifically at pages 1, lines 13-19; and page 2, lines 5-20; and page 2, lines 22 and 23
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     (first sentence).
21

22          Defendant THIS TIME claims that the government failed to provide exculpatory

23 material in its possession on the issue of materiality of alleged false statements and

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     omissions in the loan applications to the decision-makers at various mortgage lenders. If
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                                                  1
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1    that motion is denied, the Defendant wants an order of discovery granted, for all
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     exculpatory material in the government's possession for use at sentencing.
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           The Court agrees with the Government's opposition and incorporates it (Doc. 513)
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     by reference and thereby finds that:
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     1. the instant motion is untimely pursuant to Rules of Criminal Procedure, Rule 33(b)(2);
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7    2. Rule 33(b)(1) is inapplicable, in that there is no newly discovered evidence;

8    3. The information sought is not material and does not provide a defense to any of the
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     charges upon which the Defendant was convicted;
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     4. The Defendant’s position has long been that the fraud occurred (see Doc. 496, page 2,
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     line 22, as well as the trial transcript cited by the Government in Doc. 513), and that the
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     Defendant simply didn’t know about it and didn’t have anything to do with it. The new
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14 position is simply a late, newly manufactured theory in light of the factual and legal

15 findings of the jury;

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     5. The new information sought was known to everyone in this case long before trial, and
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     certainly during trial, and in plenty of time to bring a timely motion;
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     6. The requested information is NOT Brady v. Maryland (373 U.S. 83) material, and the
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     current request is an untimely discovery motion for materials that are accessible
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21 by the Defendant, and in any event are not material to the sentencing;

22 7. There is a reasonable probability that the jury would have found the Defendant guilty-

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     --with or without the requested information---based on the evidence available to both
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     sides (some presented and some not, based on reasons officers of this Court are not
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     required to provide), and evidence placed before the jury.
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                                                  2
             Case 1:11-cr-00026-LJO Document 514 Filed 09/17/14 Page 3 of 3
1          The Defendant’s alternative motions are DENIED. Sentencing will occur as
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     scheduled.
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     IT IS SO ORDERED.
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        Dated:    September 17, 2014              /s/ Lawrence J. O’Neill
5                                            UNITED STATES DISTRICT JUDGE

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